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 7
                     IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,     )          CASE NO. 2:08-cr-00427-MCE
11                                 )
                    Plaintiff,     )
12                                 )          STIPULATION AND PROPOSED
          v.                       )          ORDER FOR CONTINUANCE OF
13                                 )          STATUS CONFERENCE
     VARDGES EGIAZARIAN,           )
14        aka David Akerman,       )
          aka Ron Rubens,          )          Date: August 13, 2009
15   DERRICK JOHNSON, and          )          Time: 9:00 a.m.
     LANA LE CHABRIER,             )          Hon. Morrison C. England
16                                 )
                    Defendants.    )
17   ______________________________)
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          It is hereby stipulated and agreed to between the United
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     States of America through PHILIP A. FERRARI, Assistant United
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     States Attorney, and defendants, VARDGES EGIAZARIAN, DERRICK
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     JOHNSON, and LANA LE CHABRIER, by and through their respective
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     counsel, that the status conference in the above-captioned matter
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     set for Thursday, July 16, 2009, be continued to Thursday, August
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     13, 2009, at 9:00 a.m.    The parties continue to review discovery
25
     and seek possible resolution of this matter.        The Government
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     requests that the status conference set for co-defendants MIGRAN
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     PETROSYAN and KHACHATUR ARUTUNYAN be maintained and go forward on
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 1   July 16 so that the Court may address the matter referenced in a
 2   separate filing to be submitted today by the Government.
 3        Speedy trial time is to be excluded from the date of this
 4   order through the date of the status conference set for August
 5   13, 2009, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) [reasonable
 6   time to prepare] (Local Code T4).
 7                                           Respectfully Submitted,
 8                                           LAWRENCE G. BROWN
                                             Acting United States Attorney
 9

10   DATE: July 14, 2009        By:    /s/ Philip A. Ferrari
                                           PHILIP A. FERRARI
11                                         Assistant U.S. Attorney
12   DATE: July 14, 2009        By:    /s/ Philip A. Ferrari for
                                           JEROME KAPLAN
13                                         Att’y for Vardges Egiazarian
14   DATE: July 14, 2009        By:    /s/ Philip A. Ferrari for
                                           TIMOTHY E. WARRINER
15                                         Att’y for Derrick Johnson
16   DATE: July 14, 2009        By:    /s/ Philip A. Ferrari for
                                           JOSEPH J. WISEMAN
17                                         Att’y for Lana Le Chabrier
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19                                 O R D E R
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               IT IS SO ORDERED.
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22   Dated: July 14, 2009

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                                      _____________________________
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                                      MORRISON C. ENGLAND, JR.
25                                    UNITED STATES DISTRICT JUDGE

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